     Case 2:13-cr-00525-TS Document 561 Filed 07/12/18 PageID.2290 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF UTAH

UNITED STATES OF AMERICA,
                                                     MEMORANDUM DECISION AND
                       Plaintiff,                    ORDER GRANTING DEFENDANT’S
                                                     MOTION FOR EARLY TERMINATION
v.                                                   OF SUPERVISED RELEASE

JOSHUA DAVIS,
                                                     Case No. 2:13-CR-525 TS
                       Defendant.
                                                     District Judge Ted Stewart


         This matter is before the Court on Defendant’s Motion for Early Termination of

Supervised Release. For the reasons discussed below, the Court will grant the Motion.

                                         I. BACKGROUND

         On December 9, 2013, Defendant pleaded guilty to conspiracy to distribute spice and

money laundering. On April 1, 2014, Defendant was sentenced to a term of 60 months in the

custody of the Bureau of Prisons, to be followed by 36 months of supervised release.

         Defendant began his term of supervision on April 28, 2017. In his Motion, Defendant

represents that he has complied with the terms of his supervised release, has remained drug free,

and has experience a tremendous amount of personal growth. Consultation with Defendant’s

supervising officer confirms that he has complied with the terms of supervision. The

government has indicated that it does not object to Defendant’s request.

                                         II. DISCUSSION

         18 U.S.C. § 3583(e) permits the Court to terminate supervised release at any time after a

defendant has completed at least one year of supervised release, but prior to completion of the



                                                 1
 Case 2:13-cr-00525-TS Document 561 Filed 07/12/18 PageID.2291 Page 2 of 2




entire term, if the Court is satisfied that such action is (1) warranted by the conduct of an

offender and (2) is in the interest of justice. In making this determination, the Court is directed

to consider the factors set forth in 18 U.S.C. § 3553(a), to the extent they are applicable.

       Having considered these factors, reviewed the docket and case file, and consulted with

Defendant’s supervising officer, the Court finds that early termination of Defendant’s term of

supervised release is both warranted by the conduct of the offender and in the interest of justice.

                                        III. CONCLUSION

       It is therefore

       ORDERED that Defendant’s Motion for Early Termination of Supervised Release

(Docket No. 560) is GRANTED. It is further

       ORDERED that Defendant’s term of supervised release shall be terminated effective

immediately and this case shall be closed.

       DATED this 12th day of July, 2018.

                                               BY THE COURT:



                                               Ted Stewart
                                               United States District Judge




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